

Calamar Senior Hous. Fund, II, LLC v MK CHC Holdings, LLC (2017 NY Slip Op 09040)





Calamar Senior Hous. Fund, II, LLC v MK CHC Holdings, LLC


2017 NY Slip Op 09040


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., CARNI, DEJOSEPH, CURRAN, AND WINSLOW, JJ.


1439 CA 17-00881

[*1]CALAMAR SENIOR HOUSING FUND, II, LLC, AND CALAMAR CAPITAL SERVICES, LLC, PLAINTIFFS-APPELLANTS,
vMK CHC HOLDINGS, LLC, MOUNT KELLETT MASTER FUND II-B, L.P., MOUNT KELLETT CAPITAL MANAGEMENT, LP, FORTRESS INVESTMENT GROUP, LLC, FORTRESS MK ADVISORS, LLC, AND DRAWBRIDGE SPECIAL OPPORTUNITIES FUND, LP, DEFENDANTS-RESPONDENTS. 






ANDERSON KILL P.C., NEW YORK CITY (FINLEY T. HARCKHAM OF COUNSEL), FOR PLAINTIFFS-APPELLANTS. 
PHILLIPS LYTLE LLP, BUFFALO (CRAIG A. LESLIE OF COUNSEL), AND SIDLEY AUSTIN LLP, NEW YORK CITY, FOR DEFENDANTS-RESPONDENTS. 


	Appeal from an order and judgment (one paper) of the Supreme Court, Niagara County (Henry J. Nowak, Jr., J.), entered April 7, 2017. The order and judgment granted the motion of defendants to dismiss the complaint. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on November 10 and 13, 2017,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








